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                        Exhibit D
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9/21/21, 1:59 PM                                                                     Gmail - Your TM work



                                                                                                     Brittany Beckham <brittfletch@gmail.com>



  Your TM work
  3 messages

  Rosedale, Jeffrey <JRosedale@bakerlaw.com>                                                                      Mon, Aug 10, 2015 at 3:19 PM
  To: Beckham Brittany <brittfletch@gmail.com>
  Cc: "Moorman, Courtni E." <cmoorman@bakerlaw.com>

    Hi Brittany,

    I hope your summer is going well. I've been asked to make a personnel change to help you control your legal expenses.
     In this regard, to help keep your trademark costs as low as possible we are going to reassign your trademark application
    files to a lawyer in our Cleveland office who has a much lower billing rate than Donna's. In this regard I would like to
    introduce you Courtni Moorman who, going forward, will be handling the prosecution of your trademark applications.
     Donna has been apprised and will be working with her to ensure a smooth transition.

    If you have any questions please feel free to reach out to Courtni or me.

    Best regards,
    Jeff

    Jeffrey H. Rosedale
    BakerHostetler, LLP
    215.564.8969

    Sent from my mobile device. Please excuse typos.



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  Moorman, Courtni E. <cmoorman@bakerlaw.com>                                                                     Mon, Aug 10, 2015 at 3:28 PM
  To: Beckham Brittany <brittfletch@gmail.com>
  Cc: "Rosedale, Jeffrey" <JRosedale@bakerlaw.com>


    Hi Brittany,

    I look forward to working with you. My contact information is below, and if you click on my name it will take you to
    my bio. Please feel free to contact me with any trademark-related questions you may have.

https://mail.google.com/mail/u/2?ik=8d745227e7&view=pt&search=all&permthid=thread-f%3A1509146632252942511&simpl=msg-f%3A15091466322…         1/2


                                                                                 Ex. D-1
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9/21/21, 1:59 PM                                                               Gmail - Your TM work

    Kind regards,

    Courtni



    Courtni Moorman | BakerHostetler


    PNC Center | 1900 East 9th Street, Suite 3200 | Cleveland, OH 44114-3482


    T 216.861.6106 | F 216.696.0740


    cmoorman@bakerlaw.com

    [Quoted text hidden]
    [Quoted text hidden]



  Brittany Beckham <brittfletch@gmail.com>                                                             Tue, Aug 11, 2015 at 2:26 AM
  To: "Rosedale, Jeffrey" <JRosedale@bakerlaw.com>
  Cc: "Lebowitz, Todd" <TLebowitz@bakerlaw.com>
  Bcc: apparelwardrobe@gmail.com

    Jeff,

    How are you? First off, I’m so tired off having to communicate my concerns with you, and then all of a sudden…I’m
    “introduced” or put into contact with someone else without my permission. Im confused, and I do not understand the
    following:

    A: I sent an email with concerns about cost with Donna. Not about not paying for things…but had questions. I don’t see
    why that is a problem? As my attorney…I should be able to come to you with these questions, and also have them
    answered. Bottom line.

    B. Why are you continuing to communicate with more people and inform them of my idea without my permission? I have
    told you how I am not comfortable with this, and you continue to do it. It’s extremely frustrating, and I do not understand
    why you feel this is okay.

    C. Why am I dealing with another trademark attorney if Donna filed the trademark and got everything taken care of? You
    said that you would come to me with costs and when they would be happening moving forward. So again, why did you
    not come to me…approach me with the answers to my previous email…and ask me what I would like to do? It makes
    absolutely no sense.
    Cost has not been my concern, but I’m tired of costs continuing to happen because of lack of tasks being done or
    communicated.

    D. How many times do I have to reiterate all of the above concerns? I am just so tired of it. Call me, ask me, email me,
    and communicate! I am so tired of more people becoming involved WITHOUT my permission.

    Please let me know. Thank you.

    Brittany Beckham


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                                                                    Ex. D-2
